USCA4 Appeal: 14-4522     Doc: 19       Filed: 11/03/2014   Pg: 1 of 36




                                           No. 14-4522


                        IN THE UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT


                               UNITED STATES OF AMERICA,

                                                      Appellee,

                                                 v.

                                      WILLIAM GAZAFI,

                                                      Appellant.


                        Appeal from the United States District Court for the
                             District of Maryland, Southern Division
                         Honorable Roger W. Titus, Senior District Judge


                                    BRIEF OF APPELLEE
                                UNITED STATES OF AMERICA


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USCA4 Appeal: 14-4522            Doc: 19               Filed: 11/03/2014             Pg: 2 of 36




                                                 TABLE OF CONTENTS

        STATEMENT OF JURISDICTION.......................................................................... 1

        STATEMENT OF THE ISSUES............................................................................... 1

        STATEMENT OF THE CASE .................................................................................. 2

        STATEMENT OF FACTS ........................................................................................ 2

                 A.       The Criminal Conduct ........................................................................... 2

                 B.       The Rule 11 Proceeding ........................................................................ 8

                 C.       Sentencing ............................................................................................. 9

                          1. Statements by Victim Family Members......................................... 10

                          2. Defense Sentencing Argument....................................................... 11

                          3. Government’s Sentencing Arguments ........................................... 11

                          4. The Court’s Sentencing Determination ......................................... 12

        SUMMARY OF ARGUMENT .............................................................................. 18

        ARGUMENT .......................................................................................................... 19

        I.       THE DEFENDANT’S SENTENCE WAS PROCEDURALLY
                 REASONABLE ............................................................................................ 19

                 A.       Standard of Review ............................................................................ 19

                 B.       The District Court Made No Procedural Errors In Determining
                          The Defendant’s Sentence .................................................................. 20




                                                                    i
USCA4 Appeal: 14-4522            Doc: 19             Filed: 11/03/2014            Pg: 3 of 36




                 C.       Even If The District Court Erred By Not Sufficiently Explaining
                          The Reasons For The Sentence, The Error Was Harmless Because
                          It Is Clear From The Record That A Remand For A Lengthier
                          Explanation Would Not Lead To A Different Result ......................... 22

        II.      THE DEFENDANT’S OVERALL SENTENCE OF 120 YEARS
                 WAS SUBSTANTIVELY REASONABLE ................................................ 24

                 A.       Standard of Review ............................................................................ 24

                 B.       The Defendant’s 120-Year Sentence For Crimes
                          Involving The Production of Child Pornography Involving
                          Five Victims Ranging In Age Between Five Months And
                          Approximately Seven Years, Occurring Over The Course Of
                          Approximately One Year, And Involving His Binding And
                          Drugging Of Victims, Was Substantively Reasonable ....................... 25

        CONCLUSION ........................................................................................................ 29

        STATEMENT REGARDING ORAL ARGUMENT ............................................ 30

        CERTIFICATE OF COMPLIANCE ...................................................................... 31

        CERTIFICATE OF SERVICE ............................................................................... 32




                                                                  ii
USCA4 Appeal: 14-4522             Doc: 19              Filed: 11/03/2014             Pg: 4 of 36




                                              TABLE OF AUTHORITIES

                                                               CASES

        United States v. Abu Ali, 528 F.3d 210, 261 (4th Cir. 2008) ................................... 25

        United States v. Boulware, 604 F.3d 832, 839 (4th Cir. 2010) ............................... 23

        United States v. Cobler, 748 F.3d 570 (4th Cir. 2014) .....................................passim

        United States v. Cunningham, 429 F.3d 673, 679 (7th Cir. 2005) .......................... 21

        Gall v. United States, 552 U.S. 38, 51 (2007) .............................................19, 20, 24

        Kimbrough v. United States, 552 U.S. 85, 102 (2007) ............................................ 20

        United States v. Montes-Pineda, 445 F.3d 375, 379 (4th Cir. 2006) ...................... 25

        United States v. Savillon-Matute, 636 F.3d 119, 123 (4th Cir. 2011) ..................... 23

        United States v. Smallwood, 525 Fed. Appx. 239
          (4th Cir. 2013) (unpub.) ..........................................................................15, 16, 21

                                                           STATUTES

        18 U.S.C. § 2251(a) ................................................................................................... 2

        18 U.S.C. § 3231 ........................................................................................................ 1

        18 U.S.C. § 3553 ...............................................................................................passim

        18 U.S.C. § 3742 ........................................................................................................ 1

                                                 OTHER AUTHORITIES

        Fed. R. Crim. Proc. 11 ............................................................................................... 8



                                                                   iii
USCA4 Appeal: 14-4522     Doc: 19        Filed: 11/03/2014    Pg: 5 of 36




                               STATEMENT OF JURISDICTION

              The district court (Roger W. Titus, J.) had jurisdiction over this federal

        criminal case pursuant to 18 U.S.C. § 3231. The defendant pled guilty to all six

        counts contained in the indictment, without a plea agreement, and the district court

        sentenced him to 1,440 months (120 years) of imprisonment, entering its judgment

        on July 1, 2014. JA 170. The defendant filed a timely notice of appeal on July 7,

        2014. JA 177. This Court has jurisdiction pursuant to 18 U.S.C. § 3742(a).

                                   STATEMENT OF THE ISSUES

              I.     Whether the defendant’s sentence was procedurally reasonable, where

        the district court reviewed and considered the arguments of both the defendant and

        the government, considered all sentencing factors raised by the parties under 18

        U.S.C. § 3553(a), and sentenced the defendant within the advisory guidelines range

        that was not in dispute.

              II.    Whether the district court’s 120-year sentence was substantively

        reasonable, where the defendant produced images and videos of child pornography

        involving five victims ranging in age between five months old and seven years old;

        where the defendant was a parent, relative, or legal guardian of all five victims;

        where he bound one of his victims’ feet and ankles with handcuffs, hair ties, and

        head bands; and where the defendant administered an adult sedative to one of the

                                                  1
USCA4 Appeal: 14-4522      Doc: 19        Filed: 11/03/2014   Pg: 6 of 36




        child victims in order to facilitate his crime.

                                     STATEMENT OF THE CASE

              On September 11, 2013, a federal grand jury returned a six-count indictment

        charging the defendant, William Gazafi, with Sexual Exploitation of a Minor for

        Purpose of Producing Child Pornography, in violation of 18 U.S.C. § 2251(a). JA

        11. Gazafi pled guilty to the indictment, without a plea agreement, on April 21,

        2014. JA 7. On June 23, 2014, the district court sentenced him to 360 months’

        imprisonment as to Counts One through Four, to run consecutive to each other, and

        to concurrent sentences of 360 months’ imprisonment on Counts Four and Five, for

        a total term of incarceration of 1,440 months (120 years), with each count to be

        followed by a period of lifetime supervised release. JA 170-76. This timely

        appeal followed.

                                      STATEMENT OF FACTS

              A.     The Criminal Conduct
              On August 15, 2011, an undercover officer (“UC”) communicated with a

        user with the screen name “Bill_James” on a chatroom dedicated to discussing

        incest. JA 179. During this chat, the defendant sent five images to the UC, none

        of which were child pornography, depicting prepubescent females clothed or in




                                                    2
USCA4 Appeal: 14-4522     Doc: 19        Filed: 11/03/2014   Pg: 7 of 36




        various stages of undress. JA 179. The UC and the defendant did not have any

        further contact until August 2012. JA 180.

              On August 22, 2012, the UC was contacted online via instant messaging by

        an individual using the screen name “footfan_bill,” later identified as the

        defendant. JA 180. The following is a portion of the pertinent chat between the

        UC and the defendant:

                     UC: how long has it been for you since you had one
                     young?
                     GAZAFI: well last time I got to play with it was fairly
                     innocent, about a month ago
                     GAZAFI: buddy has two little girls aged 8mos and
                     18mos
                     UC: mmmmmmmm
                     GAZAFI: had about three hours alone while they went
                     out to dinner and drinks
                     GAZAFI: something so incredibly erotic about having
                     your cock out in front of lil girls

        JA 180.

              On August 23, 2012, the UC was contacted online via instant messaging by

        the defendant, who was using the screen name “footfan_bill.” JA 180. During this

        chat, the defendant told the UC, “I take private pics sometimes yeah but don’t

        share till I get to know someone better.” JA 180.

              On April 29, 2013, the defendant, using the screen name “Bill_James,”

        contacted the UC via instant messaging. JA 180. The defendant stated to the UC

                                                  3
USCA4 Appeal: 14-4522    Doc: 19       Filed: 11/03/2014   Pg: 8 of 36




        that he had hardcore images available, but did not send any images to the UC on

        that occasion. JA 180.

              On August 15, 2013, the UC was online in an incest predicated chatroom

        and engaged in a private online chat with the defendant, who again was using the

        screen name “Bill_James.” JA 180. The following is the pertinent portion of the

        chat between the UC and “Bill_James,” where they discussed the sharing of

        images:

                    GAZAFI: dc area here, in MD
                    UC: age?
                    GAZAFI: im 41
                    UC: my daughter is 12 and my gf daughter is 7 and we
                    play, she is actually here with me now

                                             [* * *]

                    UC: do you 2 play or just peeks
                    GAZAFI: now its just naked, cuddling etc and play time
                    after bedtime
                    UC: nice
                    GAZAFI: from 8mos to around 4 it was a bunch more
                    UC: i have proof pics of mine you have any?
                    GAZAFI: i do, but i typically dont share personal pics
                    till ive talked to someone abit..too many take them and
                    run
                    UC: cool, ive noticed alot of fakes so lately i either go
                    one for one or take a homemade pic with a message so
                    others no im real
                    GAZAFI: i can do the same or something for now.

        JA 180.

                                                4
USCA4 Appeal: 14-4522     Doc: 19         Filed: 11/03/2014   Pg: 9 of 36




              The defendant sent the UC an image depicting two clothed prepubescent

        girls sitting on the floor of a playroom. JA 181. The defendant then sent the UC

        an image depicting the legs and feet of a child with ejaculate on the child’s feet.

        JA 181. The defendant then sent a third image, which depicted a prepubescent

        child lying on her stomach, legs apart, wearing underwear and a nightshirt. JA

        181. The UC and the defendant then engaged in the following chat, where the

        defendant discussed his access to children, and the fact that he had given one of the

        children an adult sleeping aid:

                     UC: you have any like that last, wow
                     GAZAFI: whatcha mean?
                     UC: cum pics
                     GAZAFI: lots of cum pics on her feet yes
                     GAZAFI: thats why ive lately been more active towards
                     her bff that always comes over
                     GAZAFI: if you dont want to mess with pics candid lil
                     cam shots are fine too

                                               [* * *]

                     GAZAFI: friend
                     GAZAFI: like i said ive focused on her lately
                     GAZAFI: when they have a sleepover if you are on ill
                     show you her too
                     UC: mmmmmmmmmmmmmm
                     UC: is she a hard sleeper to
                     GAZAFI: oh yes
                     GAZAFI: love it
                     UC: i love that any more
                     UC: mmmm
                     GAZAFI: even gave her ambien once
                                                   5
USCA4 Appeal: 14-4522     Doc: 19       Filed: 11/03/2014   Pg: 10 of 36




        JA 181.

              The defendant then sent the UC a fourth image, which depicted a

        prepubescent female laying on her back, legs apart, wearing a pair of underwear

        with an adult male index finger moving the underwear aside to reveal the vagina of

        the prepubescent female. JA 181. The defendant and the UC resumed their chat

        after the defendant sent the image:

                     GAZAFI: i have lots trust me
                     UC: maybe 2 more pics each before we go
                     UC: was that your cock or finger in the last one
                     GAZAFI: finger
                     UC: nice
                     GAZAFI: gonna try and get her to take a whole ambien
                     next time, maybe have lots of fun
                     UC: you take those pics a while ago or recent
                     GAZAFI: less than a year ago
                     UC: nice
                     GAZAFI: maybe we can work up to watching me cum
                     on her friends feet while she sleeps

        JA 181.

              The defendant then sent two additional images to the UC. JA 182. The first

        image depicted a prepubescent female lying on her back, legs apart, wearing a pair

        of underwear pushed to the side, exposing her vagina. JA 182. The second image

        depicted a prepubescent female lying on her stomach, legs apart, wearing a pair of

        underwear with an adult male index finger digitally penetrating her vagina through

        the underwear. JA 181.
                                                 6
USCA4 Appeal: 14-4522     Doc: 19        Filed: 11/03/2014   Pg: 11 of 36




              The images produced by the defendant and sent to the UC were sent by

        Gazafi from the State of Maryland to the District of Columbia and therefore

        traveled in interstate commerce. JA 179.

              Shortly after the August 15, 2013 chat, the defendant was identified and

        arrested. JA 182. During his arrest, agents seized numerous digital media items

        from his person, and these items were forensically examined. JA 182. Agents also

        executed search warrants at the defendant’s residence. JA 182. A search of the

        defendant residence uncovered, among other things, computers, electronic storage

        media, a bottle of Ambien (a sleeping aid) prescribed to the defendant, a bottle of a

        generic sleep aid, a pair of handcuffs, and child-size lingerie. JA 182.

              A forensic examination of the digital media in Gazafi’s possession when he

        was arrested uncovered numerous images and videos produced by the defendant.

        JA 182-83. Those images and videos provided the basis for Counts One through

        Six of the Indictment:

                  Count One: Images produced by the defendant between April 3, 2012,
                   and April 7, 2012, depicting a prepubescent female restrained at the
                   ankle with handcuffs, with her legs spread apart, and bound with
                   restraints on her ankles, to display her genitalia. JA 11, 182.

                  Count Two: One image produced by the defendant on or about June
                   16, 2012, which depicts a seven year old female lying on a bed,
                   exposing her genitalia. The focus of the picture is on the child’s
                   genitalia. JA 12, 182.

                                                   7
USCA4 Appeal: 14-4522      Doc: 19       Filed: 11/03/2014   Pg: 12 of 36




                    Count Three: Five images produced by the defendant on or about June
                     24, 2012, which depict a toddler female wearing underwear, as the
                     defendant pulls back the underwear to expose her vagina. JA 13, 183.

                    Count Four: A video produced by the defendant on or about July 4,
                     2012, which depicts the defendant attempting to have a five month old
                     baby masturbate him with her feet by placing his erect penis in front
                     of the baby, who was naked from the waist down, and placing the
                     baby’s feet on his erect penis. JA 14, 183.

                    Count Five: Videos and images produced by the defendant between
                     August 4, 2012, and June 1, 2013, including a video file depicting the
                     defendant using his feet to rub the buttocks of and expose the genitalia
                     of a seven year old female. JA 15, 183.

                    Count Six: Two images produced by the defendant on April 14, 2013
                     and April 19, 2013, which depict the partial anal penetration of a
                     toddler child by the defendant. JA 16.

              The defendant produced more images and videos of child pornography

        depicting vaginal penetration and the bondage and lascivious exhibition of

        prepubescent children, some of whom appeared to be unconscious in the images.

        JA 183. A forensic examination of the digital media items seized from the

        defendant’s residence yielded over 4,000 images of child pornography not

        produced by the defendant but downloaded from the internet. JA 183.

              B.      The Rule 11 Proceeding
              On April 21, 2014, the defendant pled guilty to the six-count indictment,

        without a plea agreement. JA 40; see JA 38-70 (transcript of guilty plea hearing).

        In advance of the Rule 11 proceeding, the parties submitted letters detailing their
                                                  8
USCA4 Appeal: 14-4522     Doc: 19         Filed: 11/03/2014    Pg: 13 of 36




        respective positions. JA 19-24 (defendant’s letter); JA 25-37 (government’s

        letter). The government’s letter contained an estimated advisory guidelines range.

        JA 29-31. The defendant’s letter did not contain an estimated guidelines range.

              At the Rule 11 hearing, the district court advised the defendant that the

        crimes to which he was pleading guilty carried a minimum sentence of no less than

        fifteen years and not more than 30 years, followed by a lifetime term of supervised

        release. JA 44. The court also advised the defendant of the constitutional rights he

        was waiving as a result of his plea to the indictment. JA 45-49.

              The district court also advised the defendant about the advisory nature of the

        sentencing guidelines, and of their role, along with the role of the factors set forth

        in 18 U.S.C. § 3553(a), in the imposition of sentence. JA 51-57. Gazafi then

        admitted to the facts set forth in paragraph 6 of defense counsel’s plea letter. JA

        21-23. The court accepted the defendant’s pleas of guilty, and set a date for

        sentencing. JA 68-69.

              C.     Sentencing

              Sentencing was held on June 23, 2014. JA 71-168. The district court began

        the hearing by inquiring whether the parties had any objections to the presentence

        report. JA 74. The parties agreed that there were no objections to the report. JA

        74. The parties further agreed with the probation officer’s recommendation that

                                                   9
USCA4 Appeal: 14-4522     Doc: 19        Filed: 11/03/2014    Pg: 14 of 36




        the defendant’s adjusted offense level, after grouping all six counts, was 47, with a

        criminal history category of I. JA 74. The defendant objected only to “the

        stacking of the punishments” (consecutive sentences). JA 74.1

                     1.     Statements By Victim Family Members

              After the court advised the parties that it had reviewed the sentencing

        memoranda submitted by the parties, JA 75, the government presented five

        witnesses. JA 76-110. These witnesses told the court about the impact of these

        crimes on the lives of their children and on their families. See, e.g., JA 77 (“This

        entire experience has been a living nightmare.”); JA 80 (“I have witnessed first

        hand the horrendous impact both emotionally and financially that his behavior has

        had on this family.”); JA 82 (“I’m not sure that the English language has enough

        words in it to describe the horrors that have been bestowed on my family and the

        impact to us.”); JA 85 (“My family will never ever ever be the same. We will live

        the rest of our lives in fear that somebody will again hurt her or one of the other

        members of our family.”); JA 87 (“The pain [defendant] has inflicted on me is a

        constant heaviness in the pit of my stomach. The regret and sorrow I feel for what

        happened to my girls adds to the weight. It’s always there. It’s been a soul-

        crushing experience for me and my family and I’m not sure how to get through

        1
          Gazafi does not argue on appeal that the district court erred as a matter of law in
        running the sentences on Counts One through Four consecutive to each other.
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USCA4 Appeal: 14-4522       Doc: 19        Filed: 11/03/2014   Pg: 15 of 36




        it.”).

                 One of the witnesses described to the court her concerns for the physical

        damage likely caused by the defendant’s drugging of one of his victims:

                       [B]ecause he drugged her, she has to go through testing
                       for her kidneys and her liver to make sure that there is no
                       functional damage to them. She’s experienced short-
                       term memory loss. We’re not sure if it’s related, but it
                       sure seems to be because she didn’t have it a couple of
                       years ago.

        JA 83.

                       2.    The Defense’s Sentencing Argument

                 After hearing from the government’s witnesses, defense counsel addressed

        the court. JA 111. Counsel requested a sentence of 30 years, citing three factors in

        support of this sentence: (1) the defendant’s military service; (2) his

        “extraordinary” acceptance of responsibility; and (3) his “rehabilitative potential.”

        JA 111-20. The defendant then addressed the court personally in allocution. JA

        121-23.

                       3.    The Government’s Sentencing Arguments

                 After the defendant addressed the court, the government presented evidence

        about Gazafi’s internet chats with the undercover officer. JA 124-31. These chats

        described in graphic detail the defendant’s desires to sexually abuse children. JA

        125, 344 (“something incredibly erotic about having your cock out in front of little
                                                   11
USCA4 Appeal: 14-4522     Doc: 19         Filed: 11/03/2014    Pg: 16 of 36




        girls, isn’t it?”); JA 345 (“so many hot sexy lil are feet and panty shots”; “hell ive

        [sic] even had to go into the restroom and jerk off a few times when there were so

        many sexy things.”). These chats demonstrated the age range of the defendant’s

        sexual interests in children: “ive [sic] no real limits that ive [sic] found.” JA 336.

        During one of these chats, Gazafi distributed images of child pornography to the

        undercover officer. JA 126. The defendant also told the UC about giving one of

        the children a sleeping aid, JA 128 (“even gave her an Ambien once”), and about

        his intention to give the child victim a greater dose in the future: “gonna try and

        get her to take a whole ambien next time, maybe have lots of fun.” JA 129.

              The government also advised the court that the defendant possessed over

        15,000 images depicting the rape and sexual abuse of children as young as

        newborns: “[The defendant] has pictures of infants right after they were born still

        containing the after birth [sic] on them.” JA 141.

              After addressing the relevant factors under 18 U.S.C. § 3553(a), including

        promoting respect for the law, JA 150, and general deterrence and protection of the

        public, JA 151, the government recommended a sentence of “no less than a

        hundred years.” JA 154.

                     4.     The Court’s Sentencing Determination

              After taking a five minute recess, the district court addressed the defendant.

                                                  12
USCA4 Appeal: 14-4522     Doc: 19       Filed: 11/03/2014    Pg: 17 of 36




        JA 154. First, the court found that the defendant’s offense level was 47, above and

        beyond the guideline manual’s sentencing table. JA 154. The court then

        summarized the positions of the parties: the government was seeking a sentence of

        1,200 months (100 years); the probation officer recommended a sentence of 720

        months (60 years); and the defense was seeking a sentence of 360 months (30

        years). JA 155.

              The district court summarized its obligation to “impose a sentence that will

        be sufficient, but not greater than necessary to comply with the purpose of

        sentencing, which I’ll address one by one in this case.” JA 156. The court also

        acknowledged that while it was required to properly calculate the advisory

        guidelines range, the court would not give that range a presumption of correctness.

        JA 156. The court then went on to address the applicable § 3553(a) factors.

              First, the court addressed the nature and circumstances of the offenses,

        observing that Gazafi’s crimes were “perhaps the worst case of child pornography

        that I’ve had the misfortune of coming into contact with.” JA 158. Recognizing

        that sentencing decisions must be made “on an individual basis,” JA 158, the court

        nonetheless found instructive this Court’s observation about sentences received by




                                                13
USCA4 Appeal: 14-4522     Doc: 19        Filed: 11/03/2014    Pg: 18 of 36




        producers of child pornography. JA 158.2

              The court acknowledged the defendant’s argument about his military career,

        and that it must take that military career into account. JA 158. The court found,

        however, that the defendant’s military career constituted an aggravating factor, not

        a mitigating one: “I think what’s significant is that he used that military career and

        capacity to assist him in the commission of his heinous crimes” by “taking

        advantage of volunteering to watch people’s children in connection with the

        military service.” JA 158-59. The court further found that “whatever benefit [the

        defendant] gets by his military service is checked and then some by the fact that he

        used that military career in connection with the commission of his crime.” JA 159.

              In addressing the history and characteristics of the defendant, the court

        found that, like many defendants charged with child pornography offenses, Gazafi

        had no criminal history, and that “[i]t is obvious that there is some demon inside

        [the defendant] that has caused him to become the sexual monster that he has

        become.” JA 159.

              The district court, in addressing the seriousness of the offense, was “greatly

        aided” by the impact statements provided by relatives of the defendant’s victims.


        2
          Although not explicitly stated by the district court at that time, the government
        believes the court was referring to this Court’s then-recent decision in United
        States v. Cobler, 748 F.3d 570 (4th Cir. 2014).
                                                  14
USCA4 Appeal: 14-4522     Doc: 19        Filed: 11/03/2014   Pg: 19 of 36




        JA 160; see JA 76-110 (testimony of victims’ relatives). In so doing, the court

        found that the defendant’s crimes caused their loss of happiness, well-being, and

        “sense of security.” JA 160. The court further found that the defendant’s crimes

        were “at the top of the scale of seriousness of offenses in the child pornography

        arena, perhaps in all arenas.” JA 160.

              The court then addressed the need for the sentence imposed to protect the

        public from further crimes of the defendant, describing Gazafi’s actions as an

        “absolutely horrific series of crimes[.]” JA 161. The court found that considering

        the protection of the public was “of the highest order in this case[.]” JA 161.

              The court went on to address the need to avoid unwarranted sentencing

        disparities among defendants with similar records found guilty of similar conduct.

        JA 161. When addressing this factor, the court reviewed the cases cited in the

        sentencing memoranda submitted by defense counsel. JA 162. In comparing this

        defendant’s crimes to another case handled by the same district judge, United

        States v. Smallwood, 525 Fed. Appx. 239 (4th Cir. 2013) (unpub.), the court found

        that comparing Smallwood’s conduct with Gazafi’s conduct revealed that the

        latter’s conduct warranted greater punishment: “[I]n terms of trying to be faithful

        to the goal of substantially similar sentences with people with similar records and

        similar conduct that the Smallwood case would argue in favor of a substantially

                                                 15
USCA4 Appeal: 14-4522     Doc: 19        Filed: 11/03/2014    Pg: 20 of 36




        higher sentence [for Gazafi] than [what] Mr. Smallwood received.” JA 163.3 In

        reviewing the other cases cited in the defendant’s memorandum, the district court

        found that Gazafi’s crimes were not comparable: “[A]ll of those cases are of lesser

        import than the grievous circumstances of this defendant’s conduct in this case.”

        JA 163.

              Finally, the court found that the defendant’s use of a sleeping drug to

        commit his crimes constituted another aggravating factor weighing in favor of a

        significant sentence: “To take a drug that shouldn’t be used by people under 18

        and use it on little toddlers is just beyond the pale.” JA 164. In imposing sentence,

        the court addressed the concern that the defendant might someday be free in the

        community: “[The defendant’s] conduct is of the most depraved that I’ve ever

        seen. And I have grave reservations about my ability to protect the public from

        somebody who is engaged in a persistent course of conduct like this as to whether

        he could ever be safely released to the community.” JA 164.

              The court then imposed sentences of 30 years on each count, with the


        3
           In support of the defendant’s procedural unreasonableness argument, Gazafi’s
        appellate counsel argues that the Smallwood case involved four victims. Def. Br.
        18. That case, however, involved only one victim. Counsel’s confusion likely
        rests in the district court’s reference during sentencing to “this was four victims,”
        JA 162, a reference to the known victims of this defendant’s crimes, not
        Smallwood’s. The reference in the following sentence, “[T]here was simply him
        taking picture with using his cell phone camera” was to Smallwood.
                                                    16
USCA4 Appeal: 14-4522     Doc: 19       Filed: 11/03/2014    Pg: 21 of 36




        sentences for Counts One through Four to run consecutively to each other, and the

        sentences for Counts Five and Six to run concurrently to Counts One through Four,

        for a total sentence of 120 years. JA 165. The court then stated that it was going

        to recommend that the defendant be placed in high-level security facility, “because

        of his advance training in matters that might permit him to get his way out[,]” JA

        165 — an apparent reference to Gazafi’s military background, see JA 198-200,

        213-47, 316-17, and a statement made at sentencing by one of the victim’s parents

        regarding the defendant’s security clearance and his “above average technical

        knowledge[.]” JA 99. The court imposed the mandatory $600 special assessment

        and declined to impose a fine. JA 167.

              When asked by government counsel, the district court stated that it would

        have imposed the same sentences, regardless of the advisory guidelines range: “I

        would have imposed the exact same sentence even if my guideline application is

        wrong and there’s just no circumstances under which I would impose a lesser

        sentence in a case like this.” JA 168. The court went on to say that the

        defendant’s conduct could have justified an even longer sentence: “I could

        certainly have imposed all six of them at 30 years a piece consecutive, but I think

        at some point the mathematics becomes impossible to even count.” JA 168.




                                                 17
USCA4 Appeal: 14-4522     Doc: 19        Filed: 11/03/2014     Pg: 22 of 36




                                    SUMMARY OF ARGUMENT

              The defendant’s overall sentence of 120 years was both procedurally and

        substantively reasonable. The district court heard from both parties, and allowed

        defense counsel the opportunity to rebut the government’s arguments. The court

        considered the defendant’s arguments that a sentence of only 30 years was

        appropriate, addressing each applicable factor under 18 U.S.C. § 3553(a). The

        court explained in detail why a sentence of 120 years was sufficient, but not greater

        than necessary, to protect the public, and would fulfill the statutory goals of

        sentencing, including the nature and circumstances of the offense, the history and

        characteristics of the defendant, and the seriousness of the offense.

              After considering the arguments from counsel as to an appropriate sentence,

        the court reasonably found that the factors cited by the government in favor of a

        significant sentence (based on the number of victims, the graphic abuse committed

        against children as young as five months old, the length of time of the defendant’s

        crimes, his use of his military position to gain access to his victims, and his use of

        restraints and an adult sedative to commit his crimes), outweighed the defendant’s

        arguments that his extraordinary acceptance of responsibility, his military service,

        and his potential for rehabilitation, warranted a lesser sentence.




                                                  18
USCA4 Appeal: 14-4522     Doc: 19         Filed: 11/03/2014   Pg: 23 of 36




                                            ARGUMENT

        I.    THE DEFENDANT’S SENTENCE WAS PROCEDURALLY
              REASONABLE.

              A.     Standard of Review

              In reviewing a sentence, this Court first must ensure that the district court

        did not commit any “significant procedural error,” such as failing to properly

        calculate the applicable guidelines range, failing to consider the 18 U.S.C. §

        3553(a) factors, or failing to explain adequately the sentence. Gall v. United

        States, 552 U.S. 38, 51 (2007).

              In Gall and subsequent cases, the Supreme Court has set forth a multi-part

        procedure that sentencing courts should follow when imposing sentence. First, the

        court must correctly calculate a defendant’s sentencing range under the now-

        advisory guidelines. See id. at 38 (“As a matter of administration and to secure

        nationwide consistency, the Guidelines should be the starting point and the initial

        benchmark.”). Improperly calculating the guidelines range is “significant

        procedural error.” Id. at 39.

              Next, the district court must allow “both parties an opportunity to argue for

        whatever sentence they deem appropriate.” Id. at 49. After hearing argument, the

        court must then “consider all of the § 3553(a) factors,” id. at 49, keeping in mind

        the “overarching provision instructing district courts to ‘impose a sentence
                                                  19
USCA4 Appeal: 14-4522     Doc: 19        Filed: 11/03/2014   Pg: 24 of 36




        sufficient, but not greater than necessary’ to accomplish the goals of sentencing.”

        Kimbrough v. United States, 552 U.S. 85, 102 (2007) (quoting 18 U.S.C. §

        3553(a)). In so doing, the court “must make an individualized assessment based on

        the facts presented” and cannot “presume that the Guidelines range is reasonable.”

        Gall, 552 U.S. at 50.

              B.     The District Court Made No Procedural Errors In Determining
                     The Defendant’s Sentence.

              The 120-year sentence imposed by the district court was procedurally

        reasonable. There is no dispute as to the proper guidelines range applied by the

        district court, as both the government and the defendant agreed that Gazafi’s

        adjusted offense level was the statutory maximum term of 360 months’

        imprisonment as to each count. JA 155. Moreover, before imposing sentence, the

        court addressed the following § 3553(a) factors: (1) the nature and circumstances

        of the offense, JA 157-59; (2) the history and characteristics of the defendant, JA

        157, 159; (3) the seriousness of the offense, JA 159; (4) promoting respect for the

        law and affording adequate deterrence, JA 160; (5) protection of the public from

        future crimes of the defendant, JA 160-61; (6) the need to provide educational or

        vocational training, JA 161; (7) the kinds of sentences available, JA 161; and (8)

        the need to avoid unwarranted sentencing disparities among defendants with

        similar records found guilty of committing similar conduct, JA 161.
                                                 20
USCA4 Appeal: 14-4522     Doc: 19         Filed: 11/03/2014    Pg: 25 of 36




              The sentencing transcript demonstrates that the district court addressed each

        of these factors individually (except for the “parallel goals” of respect for the law

        and deterrence, which were grouped together, see JA 160), and applied those

        factors to the specific circumstances of the defendant’s crimes. The court’s highly

        fact-specific analysis of the applicable § 3553(a) factors in this case is a far cry

        from a “rote statement,” as Gazafi alleges. Def. Br. 10 (citing United States v.

        Cunningham, 429 F.3d 673, 679 (7th Cir. 2005)). The court applied these factors

        to the particularly egregious facts of the defendant’s crimes, as well as to the

        positive aspects of the defendant, such as his military career (a fact relied upon

        heavily by the defendant in support of a lesser sentence), and found that the

        defendant’s military career was actually a factor that weighed in favor of a

        sentence significantly greater than the one sought by the defendant.

              In determining what would constitute an appropriate sentence, the court also

        considered the cases cited by defense counsel in its “well-prepared sentencing

        memorandum.” JA 162. In reviewing those cases, the court found the facts and

        circumstances of this defendant’s conduct to be more egregious than the cases

        cited by defense counsel, including Smallwood, a case handled by the same district

        judge. JA 163. In particular, the court referred to United States v. Cobler, 748

        F.3d 570 (4th Cir. 2014). Contrary to the assertions made in the defendant’s brief,

                                                   21
USCA4 Appeal: 14-4522     Doc: 19        Filed: 11/03/2014     Pg: 26 of 36




        the district court did not focus on the facts in Cobler (though it did question

        defense counsel about the sentence imposed upon that defendant, who also had

        pled guilty, see JA 115). In light of the district court’s thorough review of the

        § 3553(a) factors, and its analysis of the other cases cited by the parties on the

        issue of an appropriate sentence, the record makes clear that the court’s discussion

        of Cobler was simply one factor in the sentencing analysis.

              Moreover, the record demonstrates that the district court did not rely unduly

        on Cobler, nor did it engage in a “rote statement” of the § 3553(a) factors. The

        court conducted a thorough review of the applicable § 3553(a) factors as they

        applied to this defendant, taking into account sentences in other cases involving

        similar conduct. Taken as a whole, the court gave both the government and the

        defense a full opportunity to present their arguments, considered those arguments

        carefully, and articulated that consideration prior to imposing sentence. The

        defendant’s sentence was, therefore, procedurally reasonable.

              C.     Even If The District Court Erred By Not Sufficiently Explaining
                     The Reasons For The Sentence, The Error Was Harmless Because
                     It Is Clear From The Record That A Remand For A Lengthier
                     Explanation Would Not Lead To A Different Result.

              Even if the defendant is correct that the district court’s findings were

        somehow insufficient, such an error would be harmless because the district court

        would have imposed the same sentence in any event. Where a district court
                                                  22
USCA4 Appeal: 14-4522     Doc: 19         Filed: 11/03/2014   Pg: 27 of 36




        commits a procedural error by failing to adequately explain its sentence, the

        reviewing court can look to the record to establish the process the district court

        undertook in fashioning the sentence to see if the court would impose the same

        sentence on remand. See United States v. Boulware, 604 F.3d 832, 839 (4th Cir.

        2010); United States v. Savillon-Matute, 636 F.3d 119, 123 (4th Cir. 2011) (“[I]t

        would make no sense to set aside [a] reasonable sentence and send the case back to

        the district court” where the district court would “impose exactly the same

        sentence.”) (citation omitted).

              In Savillon-Matute, a case in which the alleged procedural error was the

        miscalculation of the advisory guidelines range, this Court conducted an “assumed

        error harmlessness analysis,” and affirmed the sentence imposed because: (1) the

        district court stated that its above-guidelines sentence was “absolutely” appropriate

        and this “consistent indication show[ed] that it would have reached the same result

        even if it had decided the guidelines issue the other way”; and (2) the sentence was

        substantively reasonable. Id. at 123-24.

              The same analysis, applied here, leads to the same result. The district court

        listened carefully as defense counsel fully set forth the defendant’s arguments for a

        sentence of 30 years. JA 111-20. After considering the defendant’s arguments, the

        government’s arguments, and the statements of the victims’ family members, the

                                                   23
USCA4 Appeal: 14-4522     Doc: 19        Filed: 11/03/2014    Pg: 28 of 36




        district court addressed numerous applicable § 3553(a) factors, and found that

        those factors required a significant sentence, irrespective of the advisory guidelines

        calculation. The record makes clear that the court would have imposed the same

        sentence regardless of the guidelines range: “I would have imposed the exact same

        sentence even if my guideline application is wrong and there’s just no

        circumstances under which I would impose a lesser sentence in a case like this.”

        JA 167-68. There is no realistic possibility that the district court would come to a

        different conclusion if the case were to be remanded for a lengthier explanation of

        its reasoning under the § 3553(a) factors. Thus, even if the court erred in not

        explicitly rejecting the defendant’s other arguments, the record provides sufficient

        information for meaningful appellate review. Because the record indicates that the

        district court would impose the very same overall sentence on remand, and because

        — as described below, the defendant’s overall sentence was substantively

        reasonable — any procedural error was harmless.

        II.   THE DEFENDANT’S OVERALL SENTENCE OF 120 YEARS
              WAS SUBSTANTIVELY REASONABLE.

              A.     Standard of Review

              Once this Court has determined that a sentence is free of significant

        procedural error, it considers the sentence’s substantive reasonableness, “tak[ing]

        into account the totality of the circumstances.” Gall, 552 U.S. at 51. If the
                                                 24
USCA4 Appeal: 14-4522     Doc: 19        Filed: 11/03/2014    Pg: 29 of 36




        sentence is within the appropriate advisory guidelines range, the Court presumes

        that the sentence is substantively reasonable. United States v. Abu Ali, 528 F.3d

        210, 261 (4th Cir. 2008). Such a presumption is rebutted only if the defendant

        demonstrates “that the sentence is unreasonable when measured against the

        § 3553(a) factors.” United States v. Montes-Pineda, 445 F.3d 375, 379 (4th Cir.

        2006) (internal quotation marks omitted).

              B.     The Defendant’s 120-Year Sentence For Crimes Involving The
                     Production of Child Pornography Involving Five Victims Ranging
                     In Age Between Five Months And Seven Years, Occurring Over
                     The Course Of Approximately One Year, And Involving His
                     Binding And Drugging Of Victims, Was Substantively
                     Reasonable.

              The circumstances of Gazafi’s crimes, coupled with a consideration of the

        relevant sentencing factors, support the district court’s overall sentence of 120

        years. The indictment and statement of facts admitted by the defendant, under

        oath, at his guilty plea proceeding sufficiently detail the heinousness of his crimes.

        In addition, the government submitted evidence to the district court that

        demonstrated the full gravity of the defendant’s crimes. In addition to the crimes

        contained in the indictment, the defendant distributed child pornography to at least

        seven different individuals. JA 194-95. He also received child pornography from

        five producers of child pornography (images never seen before by law

        enforcement, JA 295), and was communicating with producers of child
                                                  25
USCA4 Appeal: 14-4522     Doc: 19        Filed: 11/03/2014    Pg: 30 of 36




        pornography. JA 140.

              A review of the defendant’s collection of child pornography also supports a

        120-year sentence. Submission of the defendant’s collection of child pornography

        to the National Center for Missing and Exploited Children revealed that the

        defendant possessed 2,083 image files and 117 video files depicting known,

        identified children. JA 401, 403.

              The defendant produced child pornography with infants as young as five

        months old. JA 183. Moreover, he used his military career as a subterfuge to gain

        the trust of colleagues and members of his community to entrust their young and

        infant children to his care. JA 99. When they did, the defendant violated that trust

        in the worst way humanly imaginable: he sexually abused those children,

        photographed and videotaped his sexual abuse, distributed child pornography, and

        received child pornography from others. And he placed one of his victims at

        significant risk of serious physical injury or death, by administering a sleeping aid.

        This defendant’s unspeakable actions, taken as a whole, put him in an exclusive

        class of defendants.

              Comparing this defendant’s crimes to those committed by the defendant in

        United States v. Cobler, 748 F.3d 570 (4th Cir. 2014), supports the substantive

        reasonableness of the district court’s overall sentence. In Cobler, the defendant

                                                  26
USCA4 Appeal: 14-4522     Doc: 19        Filed: 11/03/2014    Pg: 31 of 36




        victimized one child. Here, Gazafi victimized five children. And while it is true

        that one possible distinguishing factor in Cobler was that the crimes in that case

        “could have caused the child to contract Cobler’s serious communicable disease,”

        id. at 580, that risk was a serious aggravating factor roughly analogous to this

        defendant’s drugging of his victim with an adult sleeping aid, which could have led

        to serious physical injury or death for the victim.

              While the reasonableness of a defendant’s sentence should not be wholly

        dependent on the number of victims, on its face, this Court’s decision upholding

        Cobler’s 120-year sentence supports the government’s argument that Gazafi’s

        overall sentence was substantively reasonable. Here, the defendant’s crimes are

        more serious than Cobler’s, given the number of victims, his abuses of his military

        status, and his use of sleeping medication on his victims. While the district court

        and this Court should consider these factual distinctions when determining the

        appropriateness of the defendant’s sentence, it seems clear that the facts of the

        defendant’s case are more egregious.

              First, Gazafi produced child pornography involving at least five victims.

        The fact that he had the ability to commit his crimes with five different victims

        shows him to be a greater risk to the community. This defendant was able to

        manipulate several families to entrust their children to his care.

                                                  27
USCA4 Appeal: 14-4522     Doc: 19         Filed: 11/03/2014    Pg: 32 of 36




              Gazafi increased not only the demand for child pornography (by receiving it

        from others), but also the supply of child pornography available in the world, at the

        expense of the lives of at least five young children. In the process, he caused grave

        damage to these children, including possible long-term memory loss for one of his

        victims, JA 83, and immeasurable heartache to the loved ones of these child

        victims, as expressed in their statements to the court at sentencing.

              Second, Gazafi’s crimes involved using his military status to lure trusting

        parents to allow him to babysit their children. This allowed the defendant to gain

        access to children where another abuser of children might not have had such

        access. Once those children were within his custody and control, Gazafi produced

        images and videos of unspeakable abuse, with children as young as five months

        old. For one of his older victims (seven years old), the defendant administered a

        sleeping aid, and then bound the female victim in handcuffs and hair ties, and took

        pictures of her. By administering an adult sleep aid to a child, the defendant

        subjected that child to risk of serious physical injury or death, a greater risk than

        the awareness of possibly transmitting a “serious communicable disease” as

        describe in Cobler. 748 F.3d at 573. Here, one of the defendant’s victims may

        face long-term physiological damage as a result of being drugged. See JA 83.

        This factor alone puts the defendant’s crimes within the category of the most

                                                  28
USCA4 Appeal: 14-4522     Doc: 19        Filed: 11/03/2014    Pg: 33 of 36




        serious crimes that one could commit, much less commit against a child.

              When one views these factors in combination — Gazafi’s significant child

        pornography collection; the violent nature of that collection; the number of

        victims; the graphic nature of the defendant’s sexual abuse; his distribution of

        images on the internet; his misuse of his military position to lure his victims; and

        the drugging and binding of his victims — it is clear that the district court acted

        reasonably in fashioning an overall sentence of 120 years.

                                          CONCLUSION

              For the foregoing reasons, this Court should affirm the district court’s

        judgment.


                                                       Respectfully submitted,


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        November 3, 2014




                                                  29
USCA4 Appeal: 14-4522     Doc: 19        Filed: 11/03/2014   Pg: 34 of 36




                  STATEMENT WITH RESPECT TO ORAL ARGUMENT

              The United States respectfully suggests that oral argument is not necessary

        in this case. The legal issues are not novel, and oral argument likely would not aid

        the Court in reaching its decision.




                                                 30
USCA4 Appeal: 14-4522     Doc: 19        Filed: 11/03/2014      Pg: 35 of 36




                              CERTIFICATE OF COMPLIANCE

        1.    This brief has been prepared using Microsoft Word, Times New Roman,

              14 Point.

        2.    EXCLUSIVE of the corporate disclosure statement; table of contents; table

              of citations; statement with respect to oral argument; any addendum

              containing statutes, rules, or regulations, and the certificate of service, the

              brief contains 6,364 words; I understand that a material misrepresentation

              can result in the Court’s striking the brief and imposing sanctions. If the

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                                                         /s/ Thomas M. Sullivan
                                                         Thomas M. Sullivan
                                                         Assistant United States Attorney




                                                    31
USCA4 Appeal: 14-4522    Doc: 19        Filed: 11/03/2014   Pg: 36 of 36




                                   CERTIFICATE OF SERVICE

              I HEREBY CERTIFY that on November 3, 2014, I electronically filed the

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        notice of such filing to the following registered CM/ECF user:

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                                                32
